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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 ________________________________________________ x
                                                  :
                                                  :
 UNITED STATES OF AMERICA,                        :
                                                  :
       - against -                                :
                                                  :                        No. 17 Cr. 127 (KMW)
 JOSEPH MELI,                                     :
                                                  :
                                  Defendant.      :
                                                  :
 ________________________________________________ x




                    DECLARATION OF DANIEL J. FETTERMAN
            IN SUPPORT OF JOSEPH MELI’S SENTENCING MEMORANDUM

       DANIEL J. FETTERMAN, an attorney admitted to practice in the Southern District of

New York, declares the following under penalty of perjury:

       1.      I am a partner associated with Kasowitz Benson Torres LLP, counsel for Joseph

Meli in this action. I submit this declaration to place before the Court true and correct copies of

certain documents not attached to the Sentencing Memorandum.

       2.      Annexed hereto as Exhibit A is a true and correct copy of excerpts from the

Investigative Due Diligence Report –                  Joseph Meli,

                                and                  prepared by

for                                (Aug. 5, 2016).

       3.      Annexed hereto as Exhibit B is a true and correct copy of a NEW YORK POST

article by Jennifer Gould Keil, Joe Concert Ups rock tickets to $15,000 (June 10, 2007).
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          4.      Annexed hereto as Exhibit C is a true and correct copy of the “AE Reference Call

Notes,” prepared by                             Bates-stamped from USAO 11_0043937 to USAO

11_0043944 (Aug. 9, 2016).

          5.      Annexed hereto as Exhibit D is a true and correct copy of excerpts from New

York State Attorney General, Obstructed View: What’s Blocking New Yorkers from Getting

Tickets (2016).

          6.      Annexed hereto as Exhibit E is a true and correct copy of an email from

           to Joe Meli (Aug. 16, 2016).

          7.      Annexed hereto as Exhibit F is a true and correct copy of an email from

      to                 Bates-stamped from DTI 24322 to DTI 25324 (Nov. 15, 2016).

          8.      Annexed hereto as Exhibit G is a true and correct copy of an email from

           to Joe Meli, Bates-stamped DTI 02299 (Jan. 13, 2017).

          9.      Annexed hereto as Exhibit H is a true and correct copy of the “Funding

Agreement” between                        and Advance Entertainment LLC and Joseph Meli, Bates-

stamped from USAO 3_0000134 to USAO 3_0000137 (Jan. 12, 2017).

          10.     Annexed hereto as Exhibit I is a true and correct copy of a recording of a

conference call between Joe Meli and investors, Bates-stamped USAO XX-XXXXXXX.

          11.     Annexed hereto as Exhibit J is a true and correct copy of an e-mail from Joe Meli

to                     (Nov. 14, 2016).

          12.     Annexed hereto as Exhibit K is a true and correct copy of a text message from Joe

Meli to                (June 15, 2016).

          13.     Annexed hereto as Exhibit L is a true and correct copy of text messages between

                and Joe Meli (Nov. 18, 2016).



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       14.      Annexed hereto as Exhibit M is a true and correct copy of a text message from

             to Joe Meli (Nov. 16, 2016).

       15.      Annexed hereto as Exhibit N is a true and correct copy of an e-mail from Joe Meli

to Matthew Harriton (Sept. 1, 2016).

       16.      Annexed hereto as Exhibit O is a true and correct copy of text messages between

Joe Meli and              (Nov. 7, 2016-Jan. 26, 2017).

       17.      Annexed hereto as Exhibit P is a true and correct copy of American Bar

Association, A Report on Behalf of The American Bar Association Criminal Justice Section on

The Reform of Federal Sentencing for Economic Crimes (2014).

       18.      Annexed hereto as Exhibit Q is a true and correct copy of an e-mail from Mark

Varacchi to Joe Meli, Bates-stamped USAO 7-01153297 (Apr. 13, 2015).

       19.      Annexed hereto as Exhibit R is a true and correct copy of an e-mail from Mark

Varacchi to Joe Meli, Bates-stamped USAO 7-01155278 (Mar. 22, 2016).

       20.      Annexed hereto as Exhibit S is a true and correct copy of an e-mail from Mark

Varacchi to Joe Meli, Bates-stamped USAO 7-01145204 (June 17, 2016).

       21.      Annexed hereto as Exhibit T is a true and correct copy of an e-mail from Mark

Varacchi to Joe Meli, Bates-stamped USAO 7-00051268, attaching “ZachsTrade – New Issue

Report,” Bates-stamped USAO_7-00150979 (Sept. 22, 2016).

       22.      Annexed hereto as Exhibit U is a true and correct copy of an e-mail from Craig

Carton to Joe Meli and Michael Wright (Sept. 7, 2016).

       23.      Annexed hereto as Exhibit V is a true and correct copy of an e-mail from Craig

Carton to Joe Meli and Michael Wright (Aug. 31, 2016).




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       24.     Annexed hereto as Exhibit W is a true and correct copy of an e-mail from Craig

Carton to David Molner and Joe Meli (Dec. 16, 2016).

       25.     Annexed hereto as Exhibit X is a true and correct copy of an e-mail from Joe Meli

to            (Dec. 11, 2016).

       26.     Annexed hereto as Exhibit Y is a true and correct copy of an e-mail from

      to Joe Meli (Dec. 12, 2016).

       27.     Annexed hereto as Exhibit Z is a true and correct copy of an e-mail from

      to Joe Meli and                (Dec. 13, 2016).

       28.     Annexed hereto as Exhibit AA is a true and correct copy of a press release, U.S.

Attorney’s Office, Southern District of New York, Manhattan Man Pleads Guilty To

Participating In Multimillion-Dollar Securities Fraud Scheme (Oct. 31, 2017).

       29.     Annexed hereto as Exhibit BB is a true and correct copy of a press release, U.S.

Attorney’s Office, Southern District of New York, Two Individuals Arrested And Charged In

Manhattan Federal Court With Securities And Wire Fraud For Participating In A Multimillion-

Dollar Ponzi Scheme (Jan. 27, 2017).

       30.     Annexed hereto as Exhibit CC is a true and correct copy of



       31.     Annexed hereto as Exhibit DD is a true and correct copy of National Center on

Institutions and Alternatives, Federal Sentencing Statistical Analysis Report (Mar. 2018).

Dated: March 14, 2018                                   /s/ Daniel J. Fetterman

                                                    Daniel J. Fetterman
                                                    Kasowitz Benson Torres LLP
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                                                    New York, New York 10019
                                                    (212) 506-1934

                                                    Attorneys for Joseph Meli
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